     Case 3:22-cv-00211-SDD-SDJ        Document 361        02/21/24 Page 1 of 2




                       UNITED STATES DISTRICT COURT

                       MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
FEBRUARY 21, 2024
CHIEF DISTRICT JUDGE SHELLY D. DICK

PRESS ROBINSON, ET AL                                        CIVIL ACTION

VERSUS
                                                             NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                             CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                    CIVIL ACTION

VERSUS
                                                             NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL


     This matter came on this day for status conference.


     PRESENT: John N. Adcock, Esq.
              Arielle B. McTootle, esq. – by telephone
              Stuart C. Naifeh, Esq.
              Kathryn C. Sadasivan, Esq.
              Sarah E. Brannon, Esq.
              Counsel for Robinson Plaintiffs

                  Lalitha D. Madduri, Esq.
                  Counsel for Galmon Plaintiffs

                  John Carroll Walsh, Esq.
                  Philip J. Strach, Esq.
                  John Clifton Conine, Jr.
                  Counsel for Kyle Ardoin

                  Katherine L. McKnight, Esq.- by telephone
                  Michael W. Mengis, Esq. – by telephone
                  Counsel for Clay Schexnayder and Patrick Page Cortez
       Case 3:22-cv-00211-SDD-SDJ       Document 361      02/21/24 Page 2 of 2




                    Cary T. Jones, Esq.
                    Jason Brett Torchinsky, Esq.
                    Phillip Michael Gordon, Esq.
                    Counsel for State of Louisiana – Attorney General Landry

                    Stephen M. Irving, Esq.
                    Ernest L. Johnson, I, Esq.
                    Arthur Ray Thomas, Esq.
                    Counsel for Louisiana Legislative Black Caucus

      The pending motions are discussed.

      The March 25, 2024 bench trial is continued without date.

      Defendants moved for leave to file a reply to the Motion to Dismiss. Court granted

leave, defendants to file a reply memorandum within three days. Reply memorandum not

to exceed five pages in length.

                                        *****

C: CV 36; T: 30 mins.
